     Case 4:19-cv-02943 Document 16 Filed on 10/20/20 in TXSD Page 1 of 1
                                                                           United States District Court
                                                                             Southern District of Texas

                                                                                ENTERED
                                                                              October 20, 2020
                        UNITED STATES DISTRICT COURT
                                                                             David J. Bradley, Clerk
                         SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

  MATTHEW JAMES LEACHMAN,                   §
                                            §
               Petitioner,                  §
                                            §    CIVIL ACTION NO. 4:19-cv-2943
  VS.                                       §
                                            §
  ED GONZALEZ,                              §
                                            §
                                            §
               Respondent.                  §

                               ORDER OF DISMISSAL

        For the reasons set forth in this Court’s Memorandum Opinion and Order entered

on this date, Leachman’s habeas petition is dismissed without prejudice.

        SIGNED at Houston, Texas on October 20, 2020.



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                                         __________________________________
                                               A LFR
                                                   RED H.
                                               ALFRED    H. BENNETT
                                                            BE ENNET TT
                                         UNITED
                                              ED STATES DISTRICT
                                                            DISTRICT JUDGE  E




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